      Case: 1:16-cv-00583 Document #: 9 Filed: 02/19/19 Page 1 of 2 PageID #:52



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE: TESTOSTERONE REPLACEMENT                           Case No. 1:14-cv-1748
THERAPY PRODUCTS LIABILITY                                MDL No. 2545
LITIGATION                                                Hon. Matthew F. Kennelly

THIS DOCUMENT RELATES TO:

Carl Ratliff
Case No. 1:16-cv-00583

v.

AbbVie Inc., et al.


STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)


     IT IS HEREBY STIPULATED, by and between all parties who have appeared, that the

above-captioned action is voluntarily dismissed, with prejudice, against all Defendants pursuant

to Fed R. Civ. P. 41(a)(1)(A)(ii), the parties to bear their own costs and attorneys’ fees.

 /s/ Brian John Perkins                          /s/ Christopher Boisvert
 Brian John Perkins                              Christopher Boisvert
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                                                 Unimed Pharmaceuticals, LLC
      Case: 1:16-cv-00583 Document #: 9 Filed: 02/19/19 Page 2 of 2 PageID #:53



                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2019, the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.


                                             /s/ Christopher Boisvert
                                             Christopher Boisvert




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